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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 Brown, et al.,
                                        Plaintiffs

                         –against–                                    19 Civ. 11588 (PED)

 Reiser, et al.,                                                        TRIAL ORDER

                                      Defendants.
The following dates shall apply to the trial of this action:

         Jury selection will be held on March 13, 2023, at 9:30 a.m. Trial shall proceed
immediately following the completion of jury selection. Unless otherwise specified by the Court,
trial shall continue from day to day from 9:30 a.m. until 5:00 p.m.

        Proposed voir dire and witness lists must be filed by February 13, 2023.

       Proposed jury instructions and a proposed verdict form must be filed by February 13,
2023. Each party must submit a complete jury instruction for each claim or defense the
party wishes to present to the jury, and each proposed jury instruction shall indicate the
authority for the requested instruction and, if a pattern instruction is used, whether the
proposed instruction has been adapted or modified.

        Any motions in limine, as well as any trial memoranda counsel wishes to submit, shall be
filed by February 13, 2023. Responses to motions in limine shall be filed by February 20,
2023.

       The aforementioned papers shall be filed with the Clerk of the Court. Counsel shall
simultaneously provide courtesy copies to Chambers.

        Counsel shall pre-mark all exhibits. Counsel shall provide the Court with courtesy
copies of all exhibits, as well as any deposition transcripts to be used at trial, prior to the
start of trial.

        Counsel shall appear for a final pretrial conference on February 24, 2023, at 10:00 a.m.

Dated: December 12, 2022                        SO ORDERED
       White Plains, New York

                                                _____________________________________
                                                Paul E. Davison, U.S.M.J.
